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October 4, 2021

Honorable Nancy Joseph
United States District Court, Eastern District of Wisconsin
517 East Wisconsin Avenue
Milwaukee, Wisconsin 53202

   RE:     20-CV-1660 Causier Deposition Recording

Dear Judge Joseph:

As discussed during the scheduling conference on October 1, 2021, the audio recording of the
Kathy Causier deposition is being provided to the Court by email and mail. The record in this case
is large, and this deposition has been addressed in numerous filings. I believe the following docket
references add clarification to the audio recording.

As the Court referenced, the Kathy Causier deposition transcript ends as follows:




(Dkt. 67, p. 92) The audio recording does not end as transcribed—in fact, the transcript goes as far
as only including a portion of Attorney Motley’s response. Plaintiffs’ counsel and Court Reporter,
Miriam Beckford have refused to explain why there are portions of the record which were not
transcribed. Those discussions occur at approximately 2:26:35. While the transcript reflects
Attorney Motley’s “Okay” it conveniently excluded the rest of her statement:

Attorney Motley: Okay I’m going to jump off-Kate you can finish. I’m going to call the court.

Further discussions about the status of the deposition were also excluded from the transcript:

Attorney Knowlton (to Attorney Baynard): Do you have a question for her?
Attorney Baynard: I’m going to meet with her quick and see if we can wrap up…

Attorney Baynard (to Attorney Knowlton): Do you have any other questions?



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The audio does not clearly capture a response from Attorney Knowlton. However, Attorney
Knowlton acknowledged—in filings with this Court—that she did not have any additional
questions the morning of the deposition:




(Dkt. 48) While Plaintiffs’ Motion for Sanctions—acknowledges Attorney Knowlton had no
additional questions the morning of the deposition—it suggests it was possible Attorney Motley
or Attorney Baynard had questions. Plaintiffs’ own exhibit for their Motion for Sanctions is a July
16, 2021, email from Attorney Knowlton to Attorney Baynard discussing the deposition. This was
the email I referenced during the scheduling conference. (Dkt. 48-8)




(Dkt. 48-8) The email acknowledges Attorney Baynard had no questions, never suggests Attorney
Motley had additional questions and the reason for not concluding the deposition was because
Plaintiffs “might gather more information that would necessitate her again.”

In further support of their Motion for Sanctions, Plaintiffs included an August 11, 2021, email
from Attorney Baynard to Plaintiffs’ counsel reflecting her understanding of how the deposition
concluded:




(Dkt. 48-11)

The audio recording also contains an additional discussion “off the record” at approximately
1:56:40. (Also not transcribed). During the discussion Attorney Baynard continually states she
does not want to adjourn the deposition and her desire is to finish the deposition despite a health
concern. Attorney Baynard says let’s finish this today and Attorney Motley agrees she is fine with
finishing, and she has maybe another 10 minutes of questions. (Dkt. 48-12).

The deposition goes “back on the record” and approximately eight minutes later Attorney Motley
asks Attorney Knowlton if she has any questions—which Attorney Knowlton answers “no.” (Dkt.
67 at p. 82) Attorney Motley then states “I just have one more—a couple of more questions. I’m
almost done” (Dkt. 67 at p. 82) and later, “I have nothing further” (Dkt. 67 at p. 87) before
ultimately telling Attorney Knowlton to finish the deposition.



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Respectfully submitted,


/s/ Kiley B. Zellner

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